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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            §
           Plaintiffs,                             §
                                                   §
        v.                                         §   Case No. 1:18-CV-68
                                                   §
UNITED STATES OF AMERICA, et al.,                  §
          Defendants,                              §
                                                   §
and                                                §
                                                   §
KARLA PEREZ, et al.,                               §
          Defendant-Intervenors,                   §
and                                                §
                                                   §
STATE OF NEW JERSEY                                §
           Defendant-Intervenor.                   §

                            DECLARATION OF NINA PERALES

        I, Nina Perales, hereby declare as follows:

        1.     I am the Vice President of Litigation of the Mexican American Legal Defense and

Educational Fund. I am over the age of 18 and competent to make this declaration.

        2.     I submit this declaration in support of Defendant-Intervenors’ Supplemental Brief

Regarding the Impact of Recent Developments in the Legislative and Executive Branches filed

in the above-referenced case. I am thoroughly familiar with the facts and arguments in this

proceeding. I have personal knowledge of the statements contained in this declaration and am

fully competent to testify to the matters set forth herein.

        3.     Attached hereto as Exhibit 1 is a true and correct copy of the text of the American

Dream and Promise Act of 2021, H.R. 6, 117th Cong., 1st Sess. (2021), available at

https://www.congress.gov/117/bills/hr6/BILLS-117hr6rfs.pdf (last visited April 9, 2021).

        4.     Attached hereto as Exhibit 2 is a true and correct copy of the text of the Dream
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Act     of     2021,   S.    264,    117th    Cong.,     1st     Sess.   (2021),    available       at

https://www.congress.gov/117/bills/s264/BILLS-117s264is.pdf (last visited April 9, 2021).

        5.      Attached hereto as Exhibit 3 is a true and correct copy of an Order issued on

December 5, 2016, by the United States Court of Appeals for the District of Columbia Circuit in

the case United States House of Representatives v. Burwell, No. 16-5202, available on the D.C.

Circuit’s docket as Document #1649251.

        6.      Attached hereto as Exhibit 4 is a true and correct copy of an Order issued on

February 25, 2009, by the United States Court of Appeals for the District of Columbia Circuit in

the case California v. Environmental Protection Agency, No. 08-1178, available on the D.C.

Circuit’s docket as Document #1167136.


        I verify under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.


Executed on this 9th day of April, 2021.

                                                               _______/s/________________
                                                               Nina Perales
